        Case 3:23-cv-00455-S-BN Document 108 Filed 07/08/24                           Page 1 of 1 PageID 2250
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Northern District of __________
                                             __________              Texas


                       ADAM FERRARI                            )
                             Plaintiff                         )
                                v.                             )      Case No. 3:23-CV-455
                     WILLIAM FRANCIS                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         ADAM FERRARI                                                                                                  .


Date:          07/08/2024                                                                /s/ Ross M. Good
                                                                                         Attorney’s signature


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